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             EXHIBIT B
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Dear Judge McMahon,


        My name is Freedom Turner. I am 24 years old and I’m from the Bronx, New York. I am
writing this letter to express my honest remorse for my actions resulting in this charge. I’m the
last child of my mother’s five children, I have three older sisters and one older brother from my
mother. I also have a fourteen-year-old younger sister that my father had ten years after I was
born. My mother finding out about my sister resulted in heartbreak and would ultimately lead to
my family falling apart.
        I grew up with both parents. We had everything we needed, but it never seemed like it
was enough. My father remembers the first time he saw me. I was only a year old, and my
mother brought me to Rikers Island. I went to a prison before I went to an amusement park. My
father hasn’t been in jail since and always tried to push me to stay out of trouble. I feel ashamed
that I didn’t listen to him.
        Schools never felt safe to me. I was constantly getting into fights and getting bullied for
my speech impediment and for not having things that other students had such as nice clothes and
shoes. This bullying continued and so did my anger and embarrassment into middle school
where I was forced into special education and given an IEP. I thought I was being called stupid
when placed in special education. I became even more embarrassed knowing that the bullying
would continue because I’ve seen kids in special education get picked on and made fun of. I was
also frustrated that my parents let this happen. Soon after I was kicked out of public school and
moved to an alternative school. The new school felt like a juvenile detention center, it was
unsafe, and every day was a fight for your life.
        That same year, in 2011, I found out my mom had lung cancer. My mom was my best
friend. We were always together. My mother smoked a lot while I was growing up, but I thought
she had quit. I soon found out that she began smoking again to cope with finding out my father
was unfaithful and had told her that he has a one-year-old daughter with another woman. My
mother was heartbroken. My family was never the same after this. Our home no longer felt like
an inviting warm place, it was just somewhere people who used to love each other lived. My
house used to be a place for everyone to get together for holidays. All of that stopped. My mom
moved down South with my sister Ellisha in 2011 and it was just me and my father from then on.
I couldn’t move with her because I was too young to just leave everything I knew. Soon,
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everyone knew about my father’s infidelity, and it began severely affecting our lives. Our
landlord kept trying to evict us and often left us without power in our home. My frustration with
the world continued to grow along with the sadness of not having my mother around leaving me
constantly worried about her.
       I was supposed to begin high school that year but didn’t go to my first week of school
because I was dealing with all my emotions and didn’t know how to cope with them in a healthy
way. I was very worried about my mother and just missed her a lot. My dad and I moved out of
the apartment we were in, and my older sister moved into it with her wife and children. The
apartment that was my home no longer felt like a home, even with my sister in it. My mother
moved back with my sister into the home, and it felt even more strange. I wanted to be there with
my mom and did everything I could to spend time with her. I wanted to live with my best friend
again. My mom and I were always together. She was everything to me.
       May 18th, 2014, my mother passed away. It was also the birthday of my older brother,
Gregory. This was the worst day of my life. It was a complete shock. I loved my mother so
much. She was my whole world. I found my mother dead. I was 16 years old, and I saw my
mother die. After that day, I began to lose interest in everything. I struggled so much with the
grief I held over the death of my mother. On June 8th, 2015, I ended up at Rikers Island. I
wouldn’t return home until September 17th, 2019. I moved back to Ellisha’s house. I went to
countless interviews but struggled to hear back from any jobs. I finally got a job working
seasonally for UPS. I knew it would only be a few months but felt grateful to get an opportunity
to work.
       I found out I was having a son; I was so proud and excited. I began working extra hard to
ensure I could be a good father and do everything I could to help provide for my son. The mother
of my son, Freedom Jr. moved to Georgia while she was pregnant. I supported her decision to do
what she thought would be best for herself as well as my son, I remained determined to be a part
of his life. I got permission from parole to see my son’s birth and support him and his mother
while I was there. While I was in Georgia, my sister asked me to move my things out of our
house in New York. The house was crowded with her wife, children, and me. I respected her
wishes and left for New York after being there for the birth of my son. I worked hard to find
sustainable housing for myself. I struggled a lot but always tried to maintain a positive attitude
and saved enough money to eventually find my own place. Unfortunately, after I moved in, the
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landlord began sending me bills that we hadn’t agreed on. I could no longer afford the space I
worked so hard to get. I felt alone and frustrated. I had to move into my cousin’s home.
        I am a different man now. I have done everything I can to stay away from trouble and
situations that could become unsafe. I want to continue to better myself as well as become a
better father to my son. I am hurt and ashamed every night that I cannot help put him to sleep.
The truth is that I'm being sentenced to a federal offense 17 months after I come home from my
state sentence. To be honest, I feel pathetic, ashamed, I let my family down. I'm the only one to
blame for my current situation. I'm not a kid and I take full responsibility for my actions. The
plain truth is that I was moving reckless, and that behavior isn't acceptable. I am thankful that my
reckless behavior didn't result in anyone getting physically hurt, though I understand it could
have.
        I have gone through some of my worst fears and conditions living in MDC Brooklyn.
This confinement has shaken my sanity to its core. Since being incarcerated, I have contracted
COVID twice. I have asthma and am scared for my health. I have been struggling to get my
inhaler as well as getting vaccinated against COVID in here. During a global pandemic, I am not
being provided cleaning materials. The officers are using the same gloves they bring in from
home without sanitizing them while touching surfaces in the unit, and they don’t provide us with
hand sanitizer or fresh masks. Every day I live in a constant fear of being told that one of my
loved ones have is sick from the pandemic. Roaches and rats have become my living
companions. When I complain, the prison staff will ridicule or punish me for it. Commissary is
being provided whenever the prison staff decides so inmates go weeks without food and stamps.
I have been forced to live in the dark without lights for weeks at a time on more than one
occasion.

        I am working every day to be a better man for myself, my family, my community, and
my son. Going through this obstacle has made me a better person and has taught me wisdom,
confidence, and patience. I am going to be a good role model for my son. My plan to do this is to
focus on using the resources available to me. I am going to work with a program to get a good
job and then work towards going back to school. I am also going to focus on my mental health. I
am going to be a good example for my son. I realized change is what I want and what my family
deserves. I just ask for you to have mercy on me this way I could return home back to my family
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and be a better man and father that they deserve. Thank you for your time and consideration,
Your Honor.



       Respectfully signed,


       Freedom Turner
